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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS

CASCADES BRANDING INNOVATION LLC
                                                             The Hon. Edmond E. Chang
                        Plaintiff,
                  vs.                                        Civil Action No. 1:14-cv-3158

JO-ANN STORES, LLC                                           JURY TRIAL DEMANDED

                        Defendant.

                             STIPULATION OF DISMISSAL

        Plaintiff Cascades Branding Innovation and Defendant Jo-Ann Stores hereby

voluntarily dismiss this action, including claims and counterclaims, with prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

        The parties respectfully submit that no court order is required to effect this

dismissal.

Dated: October 14, 2014                        Respectfully submitted,

                                               /s William W. Flachsbart
                                               William W. Flachsbart (wwf@fg-law.com)
                                               Robert P. Greenspoon (rpg@fg-law.com
                                               Michael R. La Porte (mrl@fg-law.com)
                                               Travis Campbell (tc@fg-law.com)
                                               FLACHSBART & GREENSPOON, LLC
                                               333 N. Michigan Ave., 27th Floor
                                               Chicago, IL 60601
                                               T: 312-551-9500
                                               F: 312-551-9501

                                               Attorneys for Plaintiff
                                               Cascades Branding Innovation LLC


                                               /s David R. Barnard
                                               David R. Barnard (dbarnard@lathropgage.com)
                                               Luke M. Meriwether (lmeriwether@lathropgage.com)
                                               LATHROP & GAGE LLP
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                                    2345 Grand Blvd., Suite 2200
                                    Kansas City, MO 64108
                                    (816) 292-2000

                                    Michael Stolarski (mstolarski@lathropgage.com)
                                    Timothy K. Sendek (tsendek@lathropgage.com)
                                    LATHROP & GAGE LLP
                                    155 North Wacker Drive, Suite 3050
                                    Chicago, IL 60606
                                    (312) 920-3300

                                    Attorneys for Defendant
                                    Jo-Ann Stores, LLC




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                         CERTIFICATE OF SERVICE

      The undersigned attorney of record certifies that service of the foregoing
document has been made on October 14, 2014, via the Court’s CM/ECF system. In this
manner, service has been made on all attorneys of record in this case.


                                        /s/William W. Flachsbart
                                        William W. Flachsbart




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